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 1   DAVID M. JOLLEY (SBN 191164)
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 5
     Attorneys for Defendant
 6   TOOTSIE ROLL INDUSTRIES, LLC
 7

 8
                                 UNITED STATES DISTRICT COURT
 9
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11

12   ELIZABETH MAISEL, individually and on behalf      Civil Case No.:
     of all others similarly situated,
13
                                                       DECLARATION OF DAVID M. JOLLEY
14         Plaintiff,
                                                       IN SUPPORT OF DEFENDANT TOOTSIE
                                                       ROLL INDUSTRIES, LLC’S NOTICE OF
15         v.
                                                       REMOVAL
16   TOOTSIE ROLL INDUSTRIES, LLC, and DOES            Complaint filed: May 29, 2020
     1 through 10, inclusive,                          Complaint Served: July 2, 2020
17

18         Defendants.

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                    DECLARATION OF DAVID M. JOLLEY IN SUPPORT OF NOTICE OF REMOVAL
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 1                   I, David M. Jolley, declare and state as follows:
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                     1. I am a partner in the law firm of Donahue Fitzgerald LLP. I am one of the attorneys
 3
     representing defendant Tootsie Roll Industries, LLC (“Tootsie Roll”) in the above-captioned suit. I have
 4
     personal knowledge of the matters stated herein and, if called upon, could competently testify thereto.
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                     2. On May 29, 2020, plaintiff Elizabeth Maisel filed this action in the Superior Court of
 6
     the State of California, County of Alameda. A true and correct copy of the Complaint is attached hereto
 7
     as Exhibit A.
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                     3. Pursuant to an agreement between the parties, plaintiff’s counsel sent Tootsie Roll’s
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     counsel the Summons and Complaint, along with a Notice and Acknowledgement of Receipt form, by
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     email. Tootsie Roll’s counsel executed the Notice and Acknowledgement of Receipt of the Summons
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     and Complaint on July 2, 2020, and returned it to plaintiff’s counsel, thereby completing formal service
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     of process.
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                     4. In addition to the Summons and Complaint, the following additional documents have
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     been entered on the docket in this case in the California Superior Court for the County of Alameda: a
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     Civil Case Cover Sheet, a Declaration of Matthew T. Theriault re Venue, a Notice of Hearing, the
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     executed Notice and Acknowledgement of Receipt, and a Proof of Service of the Notice of Hearing.
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                     5. A true and correct copy of the Summons served on Tootsie Roll is attached to the
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     Jolley Declaration as Exhibit B.
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                     6. A true and correct copy of the Civil Case Cover Sheet is attached as Exhibit C.
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                     7. A true and correct copy of the Declaration of Matthew T. Theriault re Venue is
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     attached as Exhibit D.
22
                     8. A true and correct copy of the Notice of Hearing is attached as Exhibit E.
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                     9. A true and correct copy of the executed Notice and Acknowledgement of Receipt is
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     attached as Exhibit F.
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                     10. A true and correct copy of the Proof of Service of the Notice of Hearing is attached as
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     Exhibit G.
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                     DECLARATION OF DAVID M. JOLLEY IN SUPPORT OF NOTICE OF REMOVAL
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